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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLORADO


 Criminal Action No. 14-cr-00231-WJM

 UNITED STATES OF AMERICA,
             Plaintiff,

 v.


 #1 RICKY GARRISON,
              Defendants.




      MOTION FOR FED. R. CRIM. P. 16(a)(1)(E)(i) INFORAMTION, OR IN
         THE ALTERNATIVE, BRADY AND GIGLIO INFORMATION
 _____________________________________________________________________

 COMES NOW, Ricky Garrison, Defendant, by and through counsel, and hereby

 requests the Court to issue an Order directing the Government to produce Fed. R.

 Crim. P. 16(a)(1)(E)(i) information, or in the alternative, Brady and Giglio information

 concerning Agents and/or Officers of the Metro Gang Task Force (MGTF). In support

 of this motion, defendant states the following:



                                GENERAL ALLEGATIONS



 1. Ricky Garrison is charged, and set for trial, in a multi-count indictment. Mr. Garrison

 is facing multiple drug charges, two gun counts, and one count of facilitating

 prostitution.


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 2. The government’s case against Mr. Garrison will rely, in large part, upon testimony of

 Agents and Officers of the Metro Gang Task Force (MGTF). In particular, the defense

 believes, upon information and belief, that the Agents and Officers of the MGTF who

 were involved in this investigation will be called to testify about wiretap intercepts,

 visual and recorded surveillance, evidence seized from co-defendants, proffer sessions

 with co-defendants, as well as evidence seized during a search of a home where Mr.

 Garrison allegedly was staying.    In addition, the government may call Agents and

 Officers as witnesses to discuss drugs, drug use, use of weapons by those who use

 and/or sell drugs, as well as gangs and drugs.

 3. The fact that the MGTF and its Officers and Agents will be called to testify is not

 disputed by the government.1

 4. It is also without dispute that the credibility of the Officers and Agents of the MGTF

 will be a central aspect of both the government’s case and the defendant’s case.

 5. On August 18, 2016, a civil suit, Case No. 16-cv-0216-WYD-MEH, was filed in the

 United States District Court, District of Colorado, against James Comey, Director of the

 Federal Bureau of Investigation. This civil suit is attached as Exhibit 1 and 2 (Agent

 Marks filed an Amended Complaint which is Exhibit 2). The suit alleges misconduct by

 Agents and Officers of the MGTF during a period between January 2013 and

 November 2014.

 6. The government, aware of the civil case, has begun the task of attempting to

 determine whether of not any of the documents related to the civil case, 16-cv-0216-


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  Page 6, Government’s Response To Unopposed Request to Continue Trial and Ends
 of Justice Continuance Due to Newly Discovered Evidence, Doc. #1074.
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 WYD-MEH, contain information that falls under either the Brady v. Maryland, 373 U.S.

 83 (1963), and Giglio v. United States, 405 U.S. 150 (1972). To date, no such material,

 other than that ordered subject to the Court’s Order, Doc. #1103, has been produced.

 7. The defense, having become aware of the civil complaint, has already undertaken a

 Freedom of Information Request directed to the Federal Bureau of Investigation

 seeking documents related to the civil complaint, and the defense has conferred with

 the government, on multiple occasions, as to the time line of the review by the

 government of the information in the civil complaint. At present, the defense has no

 timeline as to the Freedom of Information Request response. At present, the defense

 does not know if the government has identified Brady or Giglio material.

 8. In an effort to attempt to speed the process of the flow and review of information

 sought, defendant is seeking discovery from the Government of information outlined in

 this motion. Prior to filing this motion, counsel for the defendant specifically requested

 to inspect and to copy or photograph books, papers, documents, data, photographs,

 tangible objects, or copies or portions of any of these that relate to any formal or

 informal investigation conducted by the FBI into Agent Mark’s complaints. The defense

 further explained or limited its request knowing that the Court had indicated that it

 thought that the defense was looking to obtain information concerning the allegations of

 sexual abuse. The defense is not interested in such allegations. Instead, the defense is

 focusing on the fact that it appears that the FBI, upon being notified by Agent Marks of

 issues involving failure of MGTF employees/Agents to attend work and assist in

 investigations or case duties, failed to conduct any investigation.



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                                    INFORMATION SOUGHT



 9. Defendant is requesting an Order allowing his legal team to inspect and to copy or

 photograph books, papers, documents, data, photographs, tangible objects, or copies

 or portions of any of these that relate to: any formal or informal investigation conducted

 by the FBI into Agent Mark’s complaints and any subsequent report or memorandum

 generated as the result of any such investigation into Agent Mark’s complaints. The

 defense is requesting material related to Agent Mark’s complaint/allegations that her

 colleagues on the MGTF were not attending work as scheduled or assist in

 investigations. Thus, the scope of the defendant’s request is limited to the portions of

 Agent Mark’s complaint that involve the professional duties and obligations of the

 Agents instead of any investigation into the allegations of sexual harassment.


 9. To date, the only information produced by the government regarding the complaints

 made by Agent Marks is time sheets/logs that were ordered produced by the Court

 following the last court hearing and in response to defendant’s Rule 17 subpoenas.




                                        ANALYSIS



 10. Fed. R. Crim. P. 16(a)(1)(E)(i) provides:

       (E) Documents and Objects. Upon a defendant’s request, the government
       must permit the defendant to inspect and to copy or photograph books,
       papers, documents, data, photographs, tangible objects, buildings or
       places, or copies or portions of any of these items, if the item is within the
       government’s possession, custody, or control and:

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       (i) the item is material to preparing the defense;
       (ii) the government intends to use the item in its case-in-chief at trial; or
       (iii) the item was obtained from or belongs to the defendant.


 11. The Court, in Doc. #1103, ruled that:

       [I]t in the interest of justice to construe Garrison’s Rule 17 Motion as a
       Rule 16(a)(1)(E) request to the Government to produce documents
       tending to show whether Metro Gang agents were or were not on duty
       during the Gangster Disciples investigation, and if on duty, their location
       and tasks accomplished. Viewed very generously, the Court finds that
       such data would be minimally “material to preparing the defense,” Fed. R.
       Crim. P. 16(a)(1)(E)(i), because it may at least assist in impeachment to
       the extent an officer testifies to certain surveillance but work records show
       that the officer was not on duty at that time. There may be other uses for
       such information, such as implying that exculpatory evidence was
       missed—the Court makes no ruling at this time whether such an
       implication would be entirely speculative.

 12. The information sought by the defendant is indistinguishable from the information

 already ordered produced by the Court. The only difference is that instead of time logs,

 the defendant is requesting the reports of the investigations made by the F.B.I. into

 Agent Mark’s allegations. Thus, as further outlined below, any such report, in addition

 to being subject to Fed. R. Crim. P. 16(a)(1)(E)(i), is also either Brady or Giglio in

 nature.

 13. Under Brady, the Government has a “duty to disclose material exculpatory

 evidence to the defendant.” United States v. Pedraza, 27 F.3d 1515, 1527 (10th Cir.

 1994). This includes information that is generally favorable to the defense or evidence

 that could be used to impeach witnesses. United States v. Geames, 427 F.3d 1333,

 1336 (10th Cir. 2005). The material sought is certainly exculpatory: if the Agents and

 Officers were not performing their duties, as directed, scheduled, and according to

 policy, this is information that undercuts the Government’s case and is material to the

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 defendant’s case.


 14. In Kyles v. Whitley the Supreme Court stated that, “the individual prosecutor has a

 duty to learn of any favorable evidence known to the others acting on the government’s

 behalf in the case, including the police.” Kyles v. Whitley, 514 U.S. 419, 437 (1995);

 Strickler v. Greene, 527 U.S. 263, 275 n.11 (1999); Banks v. Dretke, 540 U.S. 668

 (2004); Youngblood v. W. Virginia, 547 U.S. 867, 870—71 (2006).        The information

 sought is clearly favorable to the defendant if true.


 15. When evidence is impeachment evidence it is sometimes called Giglio material,

 after the Supreme Court case extending Brady to impeachment evidence. Giglio v.

 United States, 405 U.S. 150 (1972).        The evidence sought is clearly impeachment

 evidence, as it can be used against the Agents and Officers of the MGTF called to

 testify in this matter.


 16. The material/evidence sought by defendant is specific. In prior responses to Giglio

 information, the Government has claimed that the defense is making requests that are

 overly broad and unduly burdensome. This request is neither: it is targeted, specific,

 and material to the defense.


 17. To the extent necessary, defendant has no objection to any such reports being first

 produced to the Court in order for the Court to ensure that the defense is provided

 information subject to this narrow request.


 18. The defendant also requests that the government be required to state affirmatively

 if no such investigation was conducted by the F.B.I. into Agent Mark’s complaints.
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 WHEREFORE, for the reasons stated herein, defendant requests the Court to Order

 disclosure of the information requested.




 DATED at Denver, Colorado this, 29th day of December 2016.



                                                   Respectfully submitted,

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                             CERTIFICATE OF SERVICE

 I hereby certify that on December 29, 2016, I electronically filed the foregoing Motion
 and that a copy was delivered to all parties by the District of Colorado’s ECF filing
 system.



 /s/ Miller Leonard




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